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                                                   January 26, 2021

 VIA ECF

 The Honorable Robert B. Kugler
 United States District Court Judge
 District of New Jersey
 Mitchell H. Cohen Building & U.S. Courthouse
 4th & Cooper Streets Room 1050
 Camden, NJ 08101

 Special Master the Honorable Thomas Vanaskie
 Stevens & Lee
 1500 Market Street, East Tower
 18th Floor
 Philadelphia, PA 19103



          Re:        In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                     Case No. 1:19-md-02875-RBK-JS

 Dear Judge Kugler and Special Master Vanaskie:

        This letter is to provide Defendants’ positions with respect to the topics on the agenda for
 the conference with the Court on January 26, 2021.

     1. Parties’ Agreement on Bellwether Pool Selection and Proposed Order

         Pursuant to the Court’s recommendation, the parties met and conferred regarding the
 process for personal injury plaintiff bellwether trial pool selections. This process culminated in a
 mutual exchange on January 15, 2021, resulting in a list of twenty-eight (28) agreed personal injury
 cases for the pool. The Parties have since met and conferred over the language of a proposed order
 memorializing this process and these selections. The Parties are finalizing the language in the
 proposed order and anticipate submitting a proposed order for Judge Kugler’s consideration prior
 to the conference.

     2. State Court Coordination Order

     Given that a number of state court cases mirroring the claims asserted in the MDL are not
 capable of being transferred to the MDL, Defendants have proposed a “Joint Coordination Order”
 that would coordinate discovery in the MDL with discovery in any state court action such that the

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 MDL would be prioritized as the lead case for the purpose of discovery and discovery in the state
 court action would only occur on good cause shown there. (See attached as Exhibit A). Given the
 extensive discovery the parties have provided and will continue to provide in the MDL regarding
 claims relating to the alleged impurities, such coordination would reduce the likelihood of
 unnecessary duplication of the extensive MDL discovery in a state court action, and thereby
 prevent a compounding of the burden and expense of the discovery the parties have borne and will
 continue to bear in the MDL. The parties have not yet met and conferred about the proposed Joint
 Coordination Order proposed by Defendants, but Defendants look forward to doing so and to
 having the Court enter such order in February.

     3. Schedule and Plan for Ongoing Mid-Month Teleconferences

         During the January 13, 2021 Teleconference with the Court, Special Master Vanaskie
 inquired if the parties wished to continue holding a mid-month teleconference in addition to the
 monthly Case Management Conferences. (Trans. Jan. 13, 2021 Teleconference, 54:4-11). After
 conferring with the defense group, Defendants certainly agree with the Special Master that the
 parties benefit from having regular access to the Court’s guidance and the ability to raise issues
 which require timely resolution. However, in the interest of balancing the many competing
 demands of the case and the large number of parties involved, Defendants refer to the original
 language of Case Management Order No. 2, establishing the mid-month teleconferences, which
 stated that these are to be “a teleconference with Magistrate Judge Joel Schneider and the
 leadership counsel . . . .” (Dkt. 72 at 1-2). Defendants believe the original intent of the mid-month
 teleconferences was to provide an opportunity for leadership counsel to preview the month-end
 agenda for the Court and to raise only those issues which required resolution prior to the month-
 end Case Management Conference.

         No doubt in part due to the suspension of in-person Case Management Conferences and
 the impact of the COVID-19 pandemic, the current mid-month teleconferences have begun to
 expand and largely mirror the Case Management Conferences in scope, significantly increasing
 the amount of time spent by the parties in preparing for these teleconferences. Defendants
 respectfully propose that the parties return to the original format of the mid-month teleconferences,
 which was to allow the leadership counsel to address a limited set of pressing issues with the Court,
 but reserving issues that did not require immediate attention to be raised at the monthly Case
 Management Conferences.

     4. Proposed Litigation Overview to Magistrate Williams and Special Master Vanaskie

        Given the recent transition of the case to Judge Williams and the appointment of Special
 Master Vanaskie, Defendants propose that it may be helpful to the Court if the parties each be
 permitted to submit letters providing an overview of the litigation and procedural history, including
 the identity of the parties and the claims and defenses, as well as a summary of the parties’
 discovery conducted to date and any key rulings which have been entered. Defendants previously
 previewed this suggestion to Plaintiffs. (See attached as Exhibit B). Defendants believe a succinct
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 letter such as that described above would be beneficial given the transition of this matter, but of
 course defer to the Court on the need for and scope of such a submission.

       5. Plaintiff Fact Sheet Deficiencies and Orders to Show Cause

 Cases Addressed at the November 24, 2020 Case Management Conference:

         As a preliminary matter Defendants note that four cases were orally dismissed by the Court
 without objection at the November 24, 2020 Case Management Conference 1 yet orders of
 dismissal have not been entered on the individual dockets. Defendants respectfully request that as
 per the Court’s direction at the conference, the clerk enter orders of dismissal on the dockets in the
 following cases:

                •   Fisher, Louis – 20-cv-5057
                •   Battle, Dorothy – 20-cv-2218
                •   Gunter, Alcus – 20-cv-7952
                •   Keller, Theodore – 20-cv-6918

 Cases Addressed at the December 22, 2020 Case Management Conference:

       Defendants note that the Court issued 10 show cause orders returnable at the January 27,
 2021 Case Management Conference.

    The parties have reached an agreement to extend the time to resolve the issues in three of these
 matters and the order to show cause is withdrawn:

       •   Smoot, Kelly – 20-cv-8560
       •   Aikens, Thomas – 20-cv-5187
       •   Napolitano, John – 20-cv-05174

 Two matters have been resolved:
   • Schiano, John - 20-cv-08677
   • Ware, Johnny – 20-cv-10365

 One case has been dismissed:
    • Lomax, Sharon – 20-cv-08269

    Four cases remain subject to an order to show cause at the January 27, 2021 Case Management
 Conference for failure to substantially complete a PFS:



 1
     See Transcript of November 24, 2020 Case Management Conference at 8:7-20.
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     Plaintiff       Civil Action Law Firm               Core Deficiencies
                         No.
1.   Hebert,             19 -     Damon J.               No authorizations or records uploaded.
     Betty           CV- 14647 Baldone                   II.D.4 Exposure chart is incomplete (7 unanswered questions)
                                                         III.C. Non-cancer illness- blank


2.   Newcombe,       20-cv-10274 Levin                   No PFS filed
     Sonja                       Papantonio



3.   Williams,       20-cv-08772 Levin                   No PFS filed
     Naomi                       Papantonio



4.   Troyce,         20-cv-08269 Pendley,                I.C.2 Failed to attach records demonstrating product use and injury.
     Houchin                     Baudin &                III.G Failed to specify medical expenses.
                                 Coffin,                 XI.A.1,6 Failed to provide authorizations
                                 L.L.P.                  XII Failed to provide signed and dated declaration


          Second Listing Cases – Order to Show Cause Requested:

                  Pursuant to CMO-16, the Plaintiff Fact Sheets in the below cases are substantially
          incomplete and contain core deficiencies. Each of these four cases were previously listed on the
          agenda for a prior CMC. Defendants provided a list including these cases and identified
          deficiencies to Plaintiffs’ leadership counsel for distribution on January 19, 2021, met and
          conferred with Plaintiffs’ counsel on January 21, 2021, and have been available for further meet
          and confers as needed. Accordingly, Defendants request that an Order to Show Cause be entered
          in each of these cases, returnable at the next case management conference, as to why the case
          should not be dismissed.

                  Defense counsel will be prepared to address the individual issues with respect to each of
          these cases, to the extent necessary, during the January 27, 2021 Case Management Conference:

     Plaintiff            Civil         Law Firm         Core Deficiencies                                        Deficiency         Prior
                        Action No.                                                                                Notice Sent       Agenda
                                                                                                                                    Listing
1.   Delgado              1:20-cv-      Watts            II.E. Military Service- unanswered                        5/18/2020       December
     Riffenburg,           02133        Guerra,          II.F. Worker’s Compensation and Disability
     Deborah                            LLP              Claims-unanswered
                                                         II.G. Life Insurance-unanswered
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                                                        II.H. Other lawsuits- unanswered
                                                        II.I. Convictions- unanswered
                                                        II.K. Bankruptcy- unanswered
                                                        III.A.1.a. Hypertension- unanswered
                                                        III.C. 1-6. Non-cancer injuries claimed-
                                                        Plaintiff will supplement
                                                        III.D. Injuries attributed to Valsartan that
                                                        persist- Plaintiff will supplement
                                                        III.E. Emotional injury- unanswered, Plaintiff
                                                        will supplement
                                                        IV. D. Insurance Carriers- Plaintiff will
                                                        supplement
                                                        V.G. Condition Information- Plaintiff will
                                                        supplement
                                                        VI.B. Non-prescription drugs- Plaintiff will
                                                        supplement
                                                        VIII. Family History- Plaintiff will
                                                        supplement
                                                        XI.A - Failed to provide properly signed,
                                                        undated, and completed authorizations.

2.   Babin,               19-cv-       Damon J.         I.C.8 Information provided does not match                09/14/2020        December
     Amanda               14649        Baldone          SFC. Please clarify the discrepancy.
                                       and              Labelers/Distributors named in SFC but not
                                       Associates       in PFS.
                                                        I.C.9 Information provided does not match
                                                        SFC. Please clarify the discrepancy.
                                                        Repackagers named in SFC but not in PFS.
                                                        I.C.10 Failed to respond.
                                                        Start and end date of use for all valsartan
                                                        products listed.
                                                        I.C.11 Plaintiff appears to have started listing
                                                        information for 2 more products. If so, please
                                                        fill in all the information as required,
                                                        including name of product, dosage, and start
                                                        and end dates.
                                                        III.G Failed to provide medical expense
                                                        information.
                                                        IV.E. Failed to respond – other witnesses.
                                                        V.G. Failed to provide required information
                                                        for each condition.
                                                        XI.A. 1, 6, 7 Failed to provide properly
                                                        signed, undated, and completed authorization.
                                                        XI.B.18-19 Failed to respond.
3.   Hill, Teddy          20-cv-       Farr, Farr,        No PFS filed                                         SFC Filed -        December
                          14278        Emerich,                                                                12/11/2020
                                       Hackett,
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                                         Carr &
                                         Holmes
                                         P.A.
4.    Trowbridge,          20-CV-        Hollis Law        No PFS filed                                          SFC Filed -        December
      Carolyn               08614        Firm, P.A.                                                              09/08/20




           First Listing Cases – Remaining Core Deficiencies:

                   The following Plaintiff Fact Sheets contains core deficiencies which remain unresolved.
           Defendants provided a list including these cases and identified deficiencies to Plaintiffs on January
           19, 2021 and met and conferred with Plaintiffs’ counsel on January 21, 2021 and have been
           available for further meet and confers as needed. This is the first time these cases have been listed
           on this agenda. Accordingly, Defendants are not requesting orders to show cause with respect to
           any of the below cases at this time and will continue to meet and confer to resolve these
           deficiencies.

       Plaintiff        Civil Action        Law Firm                             Deficiencies                         Deficiency Notice
                            No.                                                                                              Sent
1.   Patterson,         20-cv-14605        Watts               Please send PDFs of authorizations. It appears         12/31/20
     Linda                                 Guerra              they are image files and some areas are
                                                               blurred.
2.   Hodan,             20-cv-08671        Golomb &          III.F.2.b Failed to respond.                             9/29/20
     Richard                               Honik, PC         Annual gross income for 2011-2013 (plaintiff
                                                             is claiming lost wages).
                                                             III.G.a Failed to respond.
                                                             Information related to medical expenses.
                                                               XI.A.2 Failed to provide properly signed,
                                                               undated, and completed authorization (Forms
                                                               4506 and 4506-T).
3.   Gibson,            20-cv-2875         Douglas &         Failed to file amended fact sheet or respond to          12/28/20
     James                                 London            Deficiency Notice
4.   Martinez,           Medical           Hollis Law        Failed to file amended fact sheet or respond to          12/15/20
     Anthony            Monitoring         Firm              Deficiency Notice
                      Representative
5.   Stewart,          20-cv-03788         Erlanger          Failed to file amended fact sheet or respond to          12/22/20
     Pamela                                Law Firm          Deficiency Notice
6.   Betz,            1:20-cv-6471         Messa &            Please see Deficiency letter for numerous               10/8/20
     Raymond                               Associates         deficiencies.
                                                              No authorizations provided

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7.   Medrano,          20-cv-12099        Fears               I.C.1 - Plaintiff produced pharmacy records            12/10/20
     Rene                                 Nachawati           that demonstrate use of Amlodipine, however
                                                              Plaintiff has identified use of
                                                              Amlodipine/Valsartan in the PFS. Please
                                                              produce proof of use of the identified
                                                              Amlodipine/Valsartan product. Also, the
                                                              produced pharmacy records do not include
                                                              NDC codes. Please produce pharmacy records
                                                              that include NDC codes.
                                                            I.C.4 – Failed to provide the NDC Code for the
                                                            second identified product.

                                                            I.D.1 - Plaintiff did not produce medical
                                                            records for the following identified health care
                                                            provider: Dr. Habib Ghaddar. Please produce
                                                            complete medical records for the foregoing
                                                            identified health care provider.

                                                            II.D.4.c - Failed to provide the dates of
                                                            exposure in Plaintiff's diet including red and/or
                                                            processed meats. Plaintiff’s answer is cut off on
                                                            the PFS form in the Third Amended PFS.
                                                            Please provide the complete answer and
                                                            include a supplemental page if the answer will
                                                            not fit on the PFS form.

                                                            III.G.a – III.G.c - Plaintiff failed to provide
                                                            substantive responses to the requests regarding
                                                            the medical expenses he is seeking recovery
                                                            for. Plaintiff indicated in the PFS that billing
                                                            records have been requested. Please provide the
                                                            medical expense information and the billing
                                                            records as they become available.

                                                            XI.A.1 – Failed to provide healthcare
                                                            authorizations for the following: Dr. Ricardo
                                                            Lerma; Benjamin Salinas; Pamela Lopez FNP;
                                                            Dr. David E. Yardley; Dr. Christopher Wood;
                                                            Dr. Debra Woloski; Dr. Habib Ghaddar; Mid
                                                            Valley Pharmacy; Walgreens; Walmart.

                                                            XI.A.7 – Plaintiff produced a mental health
                                                            records authorization for Jose Igoa, MD,
                                                            however the produced mental health records
                                                            authorization is dated. Please produce a
                                                            properly executed and undated mental health
                                                            records authorization for Jose Igoa, MD.
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                                                             XI.B.2 - No pharmacy records were produced
                                                             for the following identified pharmacies:
                                                             Walgreens or Walmart.

                                                             XI.B.9 - No photographs of the packaging or
                                                             labeling for the identified Amlodipine
                                                             Valsartan product was produced.

                                                             XI.B.18 - No medical expense records were
                                                             produced. Plaintiff indicated in the PFS that
                                                             billing records have been requested. Please
                                                             produce the billing records as they become
                                                             available.
8.   Hudson,            20-cv-13621        Watts              I.C. 2 - The produced CVS records are                   12/11/20
     Elizabeth                             Guerra, LLP        incomplete, as the records only contain
                                                              prescriptions for a time period of one month
                                                              and do not include the identified Valsartan
                                                              usage dates. Please produce complete
                                                              pharmacy records. Also, the produced
                                                              photograph of the Valsartan label only shows
                                                              one side of the bottle. Please produce
                                                              additional photographs that show the entire
                                                              Valsartan bottle.
                                                              III.C.3.a.i – III.C.3.a.ii - Plaintiff's answer
                                                              “N/A" is an insufficient response to the
                                                              requests to identify the primary treating
                                                              physician(s) for the physical injuries claimed
                                                              by Plaintiff in this case, the medication(s)
                                                              prescribed by the primary treating
                                                              physician(s), or whether Plaintiff received
                                                              treatment other than medication from the
                                                              primary treating physician(s).
                                                              III.C.3.b – III.C.b.iii - Plaintiff's answer
                                                              "N/A" is an insufficient response to the
                                                              requests to identify all major hospitalizations,
                                                              surgeries, and/or procedures that Plaintiff has
                                                              undergone in the last 10 years, including each
                                                              treatment/procedure Plaintiff underwent, the
                                                              reason for each treatment/procedure, and the
                                                              date(s) of each treatment/procedure, as
                                                              Plaintiff identified undergoing surgery for
                                                              treatment of her cancer in sections I.D and
                                                              VII.A of the PFS.
                                                              III.C.3.c.i – III.C.3.c.ii - Plaintiff's answer
                                                              "N/A" is an insufficient response to the
                                                              requests to identify the name, address, and
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                                                              phone number for each health care provider
                                                              which Plaintiff identified in the previous chart
                                                              as having provided treatment or performed
                                                              procedure (s) on the Plaintiff.
                                                              III.G.c – Failed to provide the monetary
                                                              amount for each of the identified claimed
                                                              medical expenses.
                                                              XI.B.2 - The produced pharmacy records are
                                                              incomplete and do not include the identified
                                                              Valsartan usage dates. Please produce
                                                              complete pharmacy records.
                                                              XI.B.10 - The produced pharmacy records are
                                                              incomplete and do not include the identified
                                                              Valsartan usage dates. Please produce
                                                              complete pharmacy records.
                                                              XI.B.12 - Failed to produce medical expense
                                                              records in support of Plaintiff's claimed
                                                              medical expenses.
9.   Keller,            20-cv-06918        Shrager &          PFS is substantially incomplete.                        12/14/20
     Theodore                              Sachs and
                                           Welsh &
                                           Welsh, PC
                                           LLO

           First Listing Cases – Failure to File PFS:

                   The following plaintiffs have failed to file a Plaintiff Fact Sheet and are beyond the
           deadline to file. Defendants provided a list including these cases to Plaintiffs on January 19, 2021
           and met and conferred with Plaintiffs’ counsel on January 21, 2021 and have been available for
           further meet and confers as needed. This is the first time these cases have been listed on this
           agenda. Accordingly, Defendants are not requesting orders to show cause with respect to any of
           the below cases at this time and will continue to meet and confer to resolve these deficiencies.


       Plaintiff        Civil Action        Law Firm                             Deficiencies                         PFS Due (60 days
                            No.                                                                                            + SFC)
1.   Motl, Kenny        20-cv-12751        Oliver Law         No PFS Filed                                            11/16/20
                                           Group
2.   Greenleaf,         20-cv-8785         Hollis Law         No PFS Filed                                            11/28/20
     Robert
3.   Jackson,           20-cv-14927        Levin              No PFS Filed                                            12/22/20
     Rickey                                Papantonio
4.   Newcombe,          20-cv-10274        Levin              No PFS Filed                                            8/11/20
     Sonja                                 Papantonio
5.   Thompson,          20-cv-7988         Douglas &          No PFS Filed                                            6/30/20
     Donald                                London
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6.   Futch, John        20-cv-16139        Hollis Law         No PFS Filed                                            1/12/21
                                           Firm, P.A.


               6. The Depositions of ZHP Party Employees

                   As set forth below, on January 15, 2021, Judge Schneider approved dates for the
           depositions of all 20 ZHP Party employees whose depositions have been proposed, even the five
           depositions that have not yet been approved because they are the subject of pending or forthcoming
           protective order motions. Plaintiffs have since complained that the deposition schedule approved
           by Judge Schneider should be modified because it requires that the depositions of certain ZHP
           Party employees be conducted on the same day. However, having proposed adding seven ZHP
           Party depositions to the schedule of 13 depositions originally proposed by the ZHP Parties, and
           having never themselves proposed a schedule for the 20 ZHP Party depositions they were seeking,
           Plaintiffs should not be heard to complain now about the overlapping of depositions. It is of their
           own doing. This is especially true given that such overlapping was explicit in the proposed
           deposition schedule at issue during the Case Management Conference on January 13, which the
           Court approved in its January 15 order. Nevertheless, the ZHP Parties are not opposed to certain
           modifications of the schedule of ZHP Party depositions approved by Judge Schneider.

                         a. The Schedule of Depositions Approved by Judge Schneider.

                  On January 15, 2021, Judge Schneider entered an order approving the schedule of
           depositions of ZHP Party employees proposed by the ZHP Parties on December 8 and modified
           on January 5. See ECF 743 at ¶ 2 (“The schedule for ZHP’s depositions that is set forth in Exhibit
           D to defendants’ January 12, 202 letter [Doc. No. 730] is hereby APPROVED.”). For convenience,
           the schedule approved by Judge Schneider is attached hereto as Exhibit D. In entering that order,
           Judge Schneider also delineated the specific number of days of testimony the ten ZHP Party
           witnesses designated to provide 30(b)(6) testimony would be required to provide, inclusive of
           those witnesses’ 30(b)(6) and individual testimony. Id. at ¶ 3.

                   In addition to those witnesses, the schedule of ZHP Party depositions Judge Schneider
           approved includes dates for the depositions of three other ZHP Party employees the ZHP Parties
           agreed to produce for individual testimony, and dates for the depositions of seven additional ZHP
           Party employees Plaintiffs proposed on December 17, 2020. Four of those additional seven
           witnesses Plaintiffs proposed are the subject of the ZHP Parties’ motion for protective order filed
           on January 20, 2021, see ECF 765, and Judge Schneider granted ZHP leave to file a motion for a
           protective order as to a fifth additional witness Plaintiffs proposed, Baohua Chen, ZHP’s
           Chairman, once the record of ZHP Party depositions has been fully developed. See ECF 704.2



           2 The ZHP Parties have agreed to the depositions of two of the seven additional witnesses, Eric

           Tsai and Xioadi Guo.
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         Notwithstanding that ZHP has contested the depositions of those five additional witnesses,
  at Judge Schneider’s direction, see ECF 727 at ¶ 3, the ZHP Parties proposed dates for the
  depositions of all 20 proposed ZHP Party witnesses. As Judge Schneider noted, if any of the
  depositions are not ordered, those witnesses can simply be removed from the deposition schedule.
  See 01/05/21 Hrg. Tr. at 26:1-5 (“If it turns out that the depositions are not ordered, then they can
  be taken off the schedule; but to make sure there’s no lag or undue delay, ZHP will be ordered to
  give proposed tentative dates for these witnesses’ depositions[.]”).

          Attached hereto as Exhibit E is a calendar reflecting the March deposition dates approved
  by Judge Schneider that also accounts for the 5-hour blocks of testimony time needed due to the
  time zone difference and the additional 75% of testimony time needed for depositions requiring
  translation.

                b. The Overlapping of ZHP Party Depositions is Unavoidable Due to the Seven
                   Additional Depositions Plaintiffs Seek.

          On January 5, 2021, Judge Schneider ruled that the ZHP Parties had established good cause
  for proposing that their China-based witnesses would have to be deposed in March due to the travel
  and quarantine restrictions resulting from COVID-19 and the Chinese New Year, which runs from
  February 11 to February 27, 2021:
           THE COURT: Okay. And before I forget, I just want to make one notation for the
           record. It is true that there are a number of depositions of ZHP in March; however,
           in ZHP's case, it's the Court's finding that ZHP has established good cause why it
           couldn't produce those witnesses earlier. One, it's been represented to the Court that
           the Chinese New Year is celebrated in the interim. This Court has no personal
           knowledge of how they celebrate the New Year in China, but it's been represented
           that it has a significant impact on the parties' schedule.

           Two, the Court has said previously that ZHP is facing enormous practical
           difficulties arranging for depositions, travel, what have you. The Court has not
           heard the same from any other defendant. So I think ZHP is in a unique position
           and that accounts for why it might be appropriate in ZHP's instance for an
           inordinate number of depositions to be held in March instead of earlier.

  01/05/21 Hrg. Tr. 15:16-16:7.

         Had Plaintiffs been satisfied taking the depositions of the seven China-based employees
  the ZHP Parties offered for both 30(b)(6) and individual testimony on December 8, 2021, which
  witnesses are designated to cover all of the topics in Plaintiffs 30(b)(6) notice to ZHP, there might
  have been flexibility in March to move those depositions around to avoid overlap. However,
  adding the seven additional witnesses proposed by Plaintiffs on December 17 makes overlapping
  ZHP Party depositions in March unavoidable, especially considering the time zone differences
  between counsel and the witnesses and adding time to the depositions needing a translator.
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                          i. The Time Zone Difference Requires the Depositions of Chinese Nationals
                             be Conducted in 5-hour Blocks of Testimony.

          It is necessary for the China-based witnesses to travel to another country because it is a
  violation of Chinese law for a Chinese national to be deposed in a U.S. legal proceeding while in
  China. This is true even for depositions taken by videoconference, such as using the Zoom
  platform. The negotiated Supplemental Protocols Governing Depositions of Chinese Nationals
  Residing in Mainland China, which the Court approved on December 30, 2020, reflects that the
  depositions of Chinese nationals residing in mainland China, as 14 of ZHP’s witnesses do, will be
  taken in Hong Kong. See ECF 701.3

          Hong Kong is 13 hours ahead of Eastern Standard Time until March 14, when it will move
  to being 12 hours ahead of EST due to Daylight Savings Time. Under the Deposition Protocol,
  unless otherwise agreed, the depositions of witnesses who are being deposed from Hong Kong will
  begin at 9:00 am Hong Kong time, or 8:00 pm EST the night before. A seven hour deposition of a
  witness in Hong Kong starting at 9:00 am Hong Kong time would thus end at 3:00 am EST. Given
  the challenge for counsel for both sides to be conducting a deposition in to the early morning hours,
  the ZHP Parties proposed that the depositions be conducted in 5-hour blocks, beginning at 8:00
  am in Hong Kong, or 7:00 pm EST the night before. Plaintiffs seem to agree to this proposal.

                         ii. Translation Time Extends the Length of Depositions by 75%

          The Deposition Protocol also provides that the length depositions requiring the use of a
  translator will be increased by 75%. See ECF 701 at 5. Thus, a 1-day, or 7-hour, deposition without
  a translator becomes a 12.25 hour deposition with a translator. As set forth below, ten of the 15
  witnesses who might be deposed in March will require a translator during the deposition.

                c. The ZHP Parties Are Not Opposed to Certain Modifications of the Schedule
                   Approved by Judge Schneider.

         Given that the China-based witnesses would have to provide a number of 5-hour blocks of
  testimony to complete the days of testimony ordered by Judge Schneider, especially those
  witnesses who require a translator, the ZHP Parties proposed modifying the schedule Judge
  Schneider approved so as to avoid testimony being provided on weekend nights EST, and also




  3 It should be mentioned that the ZHP Parties are currently considering whether the COVID-19

  quarantine restrictions in Macau and Singapore are less onerous, such that the ZHP Parties’ China-
  based witnesses might travel to those countries for their depositions, subject to being able to obtain
  travel permits and entry. Those countries are in the same time zone as Hong Kong, so their travel
  to those countries for the depositions will not impact the schedule.
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  suggested moving into April the depositions of the seven additional witnesses Plaintiffs proposed
  on December 17, 2021. See Goldberg Email, 01/19/21, attached as Exhibit F.4

          Plaintiffs did not accept this proposal, but did not offer an alternative that would avoid the
  overlapping of depositions they now complain about. See Slater Email, 01/22/21, attached as
  Exhibit G. Accordingly, on January 25, the ZHP Parties informed Plaintiffs that the ZHP Parties
  plan to move forward with the schedule of depositions as ordered by Judge Schneider, subject to
  the parties’ agreement to conduct the depositions of China-based witnesses in 5-hour blocks until
  completed. See Goldberg Email, 01/25/21, attached as Exhibit H. However, the ZHP Parties have
  agreed to move the start dates of three witnesses, Linda Lin, Peng Dong, and Minli Zhang, as
  Plaintiffs requested, and have proposed moving the start dates for two other witnesses, Xiaodi Guo
  and Jie Wang. Id.

          Thus, using the schedule approved by Judge Schneider, with the few modifications
  indicated in the preceding paragraph, the start dates for each of the ZHP Party witnesses are as
  follows. The depositions of the witnesses whose names are italicized are being contested by the
  ZHP Parties, and witnesses whose names are in bold require a translator.

  March 1: Minli Zhang
  March 4: Qingming Li
  March 8: Eric Tsai
  March 9: Eric Gu
  March 11: Jucai Ge, Lucy Liu
  March 15: Linda Lin
  March 16: Yuelin Hu
  March 18: Min Li
  March 19: Karen Xu
  March 22: Jie Wang
  March 24: Xiaodi Guo
  March 25 Xavier Tang
  March 29: Peng Dong
  April 1: Baohua Chen



  4 Moving the depositions of the five witnesses that Judge Schneider did not approve, but rather

  granted ZHP leave to seek to move against upon a fully deposition record showing that those
  depositions are not necessary and would be cumulative, would be consistent with Judge
  Schneider’s ruling that dates for those depositions should be provided “without prejudice to ZHP
  to present a record, which is not available now, to show, in fact, that these depositions are not
  materially important and should be quashed.” 12/22/20 Hrg. Tr. at 40:15-16 (emphasis added);
  see id. at 42:7-9 (emphasis added) (“without prejudice to ZHP to present a record that, in fact,
  these depositions are cumulative, duplicative, not material . . . .”).
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      7. Update on Deposition Schedules

                a. Aurobindo

          Counsel for the Aurobindo parties met-and-conferred with Plaintiffs’ counsel and have
  reached agreement on the deposition schedule for Aurobindo’s witnesses to take place prior to
  April 1, 2021. To the extent any issues remain with respect to individual dates and disputed
  witnesses, the Aurobindo parties do not foresee the need for Court involvement in resolving such
  issues and the parties will continue to work in good faith to accommodate scheduling conflicts
  should they arise.

                b. Teva

          The parties have reached agreement on the deposition schedule for Teva’s 30(b)6 witnesses
  to take place prior to April 1, 2021, and are coordinating on the scheduling of five additional fact
  witness depositions. To the extent any issues remain with respect to individual dates Teva does
  not foresee the need for Court involvement in resolving these issues, and the parties will continue
  to work in good faith to accommodate scheduling conflicts should they arise.

                c. Torrent

         The parties have reached agreement on the deposition schedule for Torrent’s witnesses to
  take place prior to April 1, 2021. The only remaining issue is the start and end time of the
  depositions for deponents residing in India. Torrent does not foresee the need for Court
  involvement in resolving that issue, and the parties will continue to work in good faith to
  accommodate scheduling conflicts should they arise.

      8. Summary of Defendants’ Document Production

          Defendants emailed Plaintiffs to exchange a list of agenda items to be addressed at this
  CMC on January 22, 2021. (See attached as Exhibit C). Plaintiffs replied with their own list of
  items, which added “Summary of Defendants’ Document Production.” (Id.). Defendants
  responded and requested clarification on this item, as Defendants are unaware of any issues with
  Defendants’ Document Production that are ready to be raised with the Court at this time.
  Specifically, Defendants asked if any such issues had been the subject of a meet and confer and if
  Plaintiffs could elaborate on this topic to the extent specific parties should be prepared to address
  their document productions before the Court.

          Plaintiffs did not respond to this request. To the extent the Court would like Defendants to
  provide an overview or summary of their document productions to date (similar to the information
  Defendants proposed be included in the letter to the Court addressed in Section 5, above),
  Defendants are happy to do so. However, if Plaintiffs intend to raise alleged deficiencies or issues
  with Defendants’ document productions to the Court for the first time at this CMC and without
  giving notice to Defendants of the substance of these allegations, Defendants request that the Court
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  require notice and the opportunity for the parties to meet and confer before considering any such
  issues on the record.

      9. Update on Wholesaler Defendants T3 Data Stipulation

      In response to plaintiffs’ requests for production of exemplars of “shipment documents” that
  accompany Valsartan-containing drugs purchased and sold by Wholesaler Defendants (RFPs Nos.
  5 and 7), the Wholesaler Defendants each produced responsive documents and in their responses
  further stated that, as wholesalers, they are prohibited from producing exemplars of the transaction
  information, transaction history, and transaction statement (“T3”) documents/data pursuant to the
  wholesaler-specific section 360eee-1(c)(1)(A)(v)(II) of the DSCSA, which specifically establishes
  the confidential nature of such documents (“A wholesale distributor shall . . . maintain the
  confidentiality of the transaction information (including any lot level information consistent with
  the requirements of this section), transaction history, and transaction statement for a product in a
  manner that prohibits disclosure to any person other than the Secretary or other appropriate Federal
  or State official. . .”). Following the December 22, 2020, status conference, during which this
  issue was discussed with the Court and briefing was ordered, the parties began discussions
  concerning the negotiation of a stipulation that would obviate the need for the filing of any briefing
  and a court decision on the issue. Counsel for the parties continue to work on a stipulation. If the
  parties are unable to reach a stipulation on this issue, briefing will be filed by February 8, 2021,
  with the Court to hear the matter, if required, at the February 10, 2021, status conference.

      10. Short Form Complaints for Losartan and Irbesartan and Implementing orders;
          Service of Process on Defendants

           The parties have not had an opportunity to complete their meet-and-confer obligations on
  this issue. Plaintiffs asked if every Defendant who is currently in this litigation will accept service
  of all of the Losartan and Irbesartan Master Complaints through the Court’s electronic filing
  system. Some of the foreign Defendants may require service through the Hague Convention and
  some of the downstream defendants may require service in person domestically. There is also at
  least one Defendant (Sandoz, Inc.) who has not yet been served in connection with any complaint
  in the MDL. When a similar issue arose regarding the foreign manufacturers and the Valsartan
  Master Complaints (before this MDL was expanded to include the other ‘Sartans), the Court
  allowed the parties to brief the issue and decided that each Defendant had to be served with at least
  one of the Valsartan Master Complaints (Dkt. 99). If the parties are unable to reach an agreement
  through their meet-and-confer obligations, Defendants would respectfully request the opportunity
  to brief the issue.

      11. Filing of Amended Complaints

          After conferring with Plaintiffs, the defense group does not consent to the modification of
  the current deadline which requires Plaintiffs to file amended complaints in response to MTD 2 by
  January 27, 2021. Defendants will take no position should Plaintiffs move for leave to modify this
  date.
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      12. Mylan’s Privilege Log

          On Monday, January 25, 2021, Plaintiffs indicated their intention to raise purported
  “deficiencies” with Mylan’s Privilege Log during the January 27, 2021 Case Management
  Conference. This issue is not ripe to be brought before the Court because the parties have not yet
  had an opportunity to meaningfully meet and confer pursuant to L.Civ.R. 37.1(a)(1). Further, the
  ESI Protocol (Dkt. 127) grants Mylan thirty (30) days to respond to any issues identified by
  Plaintiffs in writing. Mylan has informed Plaintiffs that it needs time to investigate these issues in
  order to continue to meet and confer.

          Mylan produced its Privilege Log to Plaintiffs on December 30, 2020. On January 18, 2021
  Mylan produced an amended Privilege Log, which removed the privilege designation from several
  documents, which have now been produced. No documents were added to the amended Privilege
  Log. Plaintiffs have also requested a legend containing the names of attorneys identified on the
  log, and Mylan has agreed to provide this information.

          Plaintiffs first raised alleged deficiencies with Mylan’s Privilege Log during a telephonic
  meet and confer on Sunday, January 24, 2021. Plaintiffs did not identify specific documents
  contained on Mylan’s Privilege Log during this discussion; rather, Plaintiffs outlined generalized
  grievances regarding the manner in which Mylan logged privileged documents. Thereafter, on
  Monday, January 25, 2020, Plaintiffs followed up in writing and identified approximately 370
  documents contained on Mylan’s Privilege Log to which Plaintiffs challenged the privilege
  designation. Mylan has agreed to review these specific documents in an expedited manner, and to
  the extent any of these documents were withheld in error, Mylan will produce them next week.

         The ESI Protocol governs this issue. Specifically, where a requesting party seeks further
  information about privileged documents

           it shall explain in writing the need for such information and identify, by Bates
           number or other unique identifier, each document for which it seeks this
           information. Within thirty (30) days of such a request, the producing party must
           either (i) provide the requested information or (ii) challenge the request. Either
           party may seek to expedite this time period upon good cause shown. If a party
           challenges a request for further information, the parties shall meet and confer to try
           to reach a mutually agreeable solution. If they cannot agree, the parties must request
           a conference with the court before any motions may be filed.

  (Dkt. 127 at 18). Mylan has already agreed to expedite its review of the specific documents
  identified by Plaintiffs. Accordingly, the meet and confer on those documents is ongoing. With
  respect to any other generalized, alleged “deficiencies,” Plaintiffs are required to identify specific
  documents in order to allow the parties to meet and confer. Because Plaintiffs have not done so,
  none of these issues are properly before the Court at this time.

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                                                                   Respectfully submitted,

                                                                   /s/ Lori G. Cohen

                                                                   Lori G. Cohen




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